   Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 1 of 8 PageID #: 1

                                                                                      FILEQ
                                                                                      JAN 082014
                              UNITED STATES DISTRICT COURT

                                                                                      ~~
                               DISTRICT OF SOUTH DAKOTA
                                     EIGHTH CIRCUIT

James Irving Dale,
       Plaintiff,                                 Court File No.:_--L..}4-!...--_~.u...()~{"""')3~_ _ __
        Vs.
Robert Dooley, Jennifer Wagner,                                    41 U.S.C. 1983 & 41 U.S.C 1000cc
George Deglman, Unknown Department of                                CIVIL RIGHTS COMPLAINT
Corrections Staff, CBM Correctional Food
Services, Unknown CBM Employees,
        Defendants.


                                          INTRODUCTION

        This is a civil rights action filed by James Irving Dale, a state inmate, for damages and     !




injunctive relief pursuant to 42 U.S.C. 1983 and 42 U.S.C. 2000cc (2) Religious Land Use

Institutionalized Persons Act ("RLUIPA"), alleging that the defendants violated and conspired tp

violate plaintiff's First Amendment right to practice his religious belief s, retaliated against

plaintiff for practicing his religious belief s, took substantial steps to dissuade plaintiff from

practicing his religious beliefs, discriminated against the plaintiff because of his religious

beliefs and placed a substantial burden ofplaintifrs ability to practice his religious beliefs in
                                                                                                      i
violation of the First Amendment and Equal Protection clauses of the United States ConstitutiOI)

and Federal Law.

                                               PARTIES
                                                                                                          i

              1. 	 The plaintiff, James Irving Dale, is an inmate who is incarcerated at Mike Durfee I

                 State Prison ("MDSP"), or the South Dakota State Penitentiary ("SDSP") during

                 the events described in this complaint.
Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 2 of 8 PageID #: 2




       2. Defendant, Robert Dooley, is the acting warden at MDSP and is sued in his

          individual and official capacity.

       3. 	 Defendant, Jennifer Wagner, was the Cultural Affairs Coordinator in 2006 and

          2007 at SDSP and is sued in her individual and official capacity.

       4. 	 Defendant, George Deglman, is a Unit Manager at MDSP who was assigned to

          investigate and respond to plaintiff's "Requests for Administrative Remedies" he

          is sued in his individual and official capacity.

       5. 	 Defendants, Unknown Department of Corrections Staff, are any current and

          former South Dakota Department of Corrections staff and are sued in his or her

          individual and official capacity.

       6. 	 Defendant, CBM Correctional Food Services, is the private company contractef

          to feed inmates at MDSP and SDSP by the South Dakota Department of

          Corrections.

       7. 	 Defendant, Unknown CBM Employees, is any current and former CBM employee

          and is sued in his or her individual and official capacity.

                                              FACTS

       8. 	 Plaintiff is Jewish and attends a synagogue in Minneapolis, Minnesota, he also

          eats kosher and keeps a kosher home on the streets.

       9. 	 Plaintiff has eaten kosher meals in prison since 2003 when he found out that th¢

          Department of Corrections ("DOC") was required by law to provide him with          f
                                                                                             I

          kosher tray.

       10. Plaintiff was brought back to the South Dakota Department of Corrections on

          September 1, 2013 two years after his sentence expired.



                                              2

Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 3 of 8 PageID #: 3




       11. Plaintiff was transferred to MDSP in Springfield, South Dakota on September 2€l,

          2013.

       12. Plaintiffis hypoglycemic and has had repeated bouts oflow blood sugar since htj

          began eating the current kosher diet served to him by the defendants.

       13. Since 2007 all of the defendants have waged a campaign of harassment,

          intimidation and retaliation against the plaintiff, and other Jewish inmates, in

          order to dissuade him from eating a kosher diet.

       14. Eating and maintaining a kosher diet is a tenant ofplaintifrs religious beliefs ~d

          Judaism.

       FIRST AMENDMENT AND RELIGIOUS LAND USE INSTITUTIONALIZfD

                                  PERSONS ACT VIOLATIONS

       15. The defendants serve the plaintiff, and other Jewish inmates, a small bowl ofric~

          with textured soy protein, peanut butter, jelly, bread, carrots, fruit and a small

          drink mix packet for lunch and dinner (supper) meals seven days a week, 365

          days a year (Dale's Affidavit).

       16. The rice that the defendants serve the plaintiff is not kosher, contains pork

          flavoring and pork byproducts.

       17. For breakfast the defendants serve the plaintiff, and other Jewish inmate, a bowl
                                                                                               ,
          of cereal, bread, jelly, fruit, milk and peanut butter or cream cheese (Tuesdays *d
                                                                                               !
          Thursdays) seven days a week, 365 days a year (Dale's Affidavit).

       18. One day a week the defendants serve a chorizo rice dish that has pork flavorin~

          and pork by products in it and it is not kosher.




                                             3

Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 4 of 8 PageID #: 4



      19. The peanut butter is served in small thimble sized cups and is often stale, hard and

         un-spreadable, on two occasions the plaintiff has found mold in his peanut butter

         (Dale's Affidavit).

      20. The carrots are always stale or slimy, and are cut by CBM staff with the same

         knife used to cut swine and other unclean food, which renders them un-kosher

         (Dale's Affidavit).

      21. The fruit is always either oranges or apples 365 days a year (Dale's Affidavit).

      22. The oranges are usually green or dried up and often un-edible (Dale's Affidavit).:

      23. The apples are usually old, soft, and bruised to the point that they are un-edible

         (Dale's Affidavit).

      24. The drink mix packets are usually placed under the carrots and is usually so

         covered with the slime from the carrots that the powdered juice will not come out

         ofthe package.

      25. Plaintiffhas found flies and other unidentified objects in his rice dish on several

          occasions (Dale's Affidavit).

      26. Defendants use the same spoons to stir and serve the rice that is used to stir and

          serve swine and other non-kosher food that is served to the mainline trays.

      27. The defendants wash the pots and pans used to cook the rice dish with the sameI

         pots and pans that are used to cook swine and other non-kosher food.                   I
                                                                                                I


      28. The entire contents ofthe kosher meal the defendants serve the plaintiffis placed

          on a small paper plate.




                                             4

Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 5 of 8 PageID #: 5




      29. The defendants cook the rice in unsanitary conditions and allow flies and other

          insects to land in the rice while it is cooking and do nothing to stop it (Brian

          Wtlson's Affidavit).

      30. The defendants place the peanut butter in the thimble sized cups days in advance~
                                                                                                  i
                                                                                                  !
          and leave the peanut butter out on the counter for hours at a time while allowing
                                                                                                  !



          flies and other insects to land on the peanut butter while it is being served and

          sitting on the counter (Brian Wilson's Affidavit).

      31. Defendant Wagner told the defendant in 2007 that he is not Jewish and that the I

          Department of Corrections and CBM would continue to serve the aforementioned

          food to Jewish inmate due to the fact that to many inmates had signed up for th~

          kosher trays (Dale's Affidavit).
                                                                                              I

      32. Many Jewish inmates have asked to be taken off the kosher trays because o f i

          the defendants feed inmates who chose to eat a kosher diet.                         .

                              EQUAL PROTECTION VIOLATION

      33. Non-Jewish inmates at MDSP and other South Dakota prisons are fed a wide

          variety of different meals, including special holiday meals.

      34. Jewish inmates are fed the same aforementioned meals seven days a week, 365

          days a year.

      35. Non-Jewish inmates are allowed to trade and give away food in the dinning hall at

          MDSP without reprisals or disciplinary action.

       36. Defendants file disciplinary reports against any Jewish inmate who gives away his

          food in the dinning hall.




                                             5

Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 6 of 8 PageID #: 6

                                                                                               i

      37. If a non-Jewish inmate fails to go to a meal and pick up, or get, his tray there arel

         no reprisals from the defendants.                                                     I

      38. If a Jewish inmate misses a meal, or fails to pick up his tray, he faces a

          disciplinary write up and is threatened with removal from his kosher tray.           •

      39. Non-Jewish inmates are prescribed medical diets such as heart healthy, bland,     an~
          diabetic diets by the health services department at MDSP.

      40. Defendants have given the plaintiff, and other Jewish inmates, a choice between

          eating kosher or a medically prescribed diet; but will not prescribe a medical

          kosher diet.

                     EXHAUSTION OF ADMINISTRATIVE REMEDIES

      41. Plaintiff has filed both "Infonnal Resolution Requests" and "Requests for

          Administrative Remedies" in this matter (Dale's Affidavit).

      42. Defendants did not address many ofthe issues that the plaintiff raised in his

          "Infonnal Resolution Requests" and "Requests for Administrative Remedies"

          (Dale's Affidavit).

                                      CLAIMS FOR RELIEF

      43. That defendant Dooley conspired with, or tacitly authorized, the other defendants

          to dissuade the plaintiff (and other Jewish inmates) from practicing his religious

          beliefs (Eating a kosher meal) and turned a blind eye and was deliberately

          indifferent to the Constitutional and federal civil rights violations that were

          occurring at MDSP.




                                             6

Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 7 of 8 PageID #: 7




      44. That defendant Wagner conspired with the other defendants to dissuade the

          plaintiff(and other Jewish inmates) from practicing his religious beliefs (Eating ~

          kosher meal).                                                                        '

      45. That defendant Deglman failed to address the issues raised in plaintiff's   "InfoJ
          Resolution Requests" and "Requests for Administrative Remedies" and thus

          turned a blind eye and was deliberately indifferent to the Constitutional and

          federal civil rights violations that were occurring at MDSP.

      46. That defendants Unknown Department ofCorrections Staff conspired with, or

          tacitly authorized, the other defendants to dissuade the plaintiff (and other Jewis1

          inmates) from practicing his religious beliefs (Eating a kosher meal) and turned a i

          blind eye and was deliberately indifferent to the Constitutional and federal civil

          rights violations that were occurring at MDSP and SDSP.

      47. That CBM Correctional Food Services conspired with the other defendants to

          dissuade the plaintiff (and other Jewish inmates) from practicing his religious

          beliefs (Eating a kosher meal).

      48. That Unknown CBM Employees conspired with the other defendants to dissuade

          the plaintiff(and other Jewish inmates) from practicing his religious beliefs

          (Eating a kosher meal).

                                      RELIEF REQUESTED

   WHEREFORE the plaintiff requests that this court grant the following relief:

      1. 	 Issue a declaratory judgment stating that all ofthe defendants actions violated th~

          plaintiff s First Amendment right to practice his religious beliefs and Federallaw

          pursuant to 42 U.S.C. 2000cc (Religious Land Use Institutionalized Persons Act).




                                            7

Case 4:14-cv-04003-LLP Document 1 Filed 01/08/14 Page 8 of 8 PageID #: 8



      2. 	 Issue an injunction ordering the defendants to perfonn the following:

      a. 	 Provide the plaintiff with a PRE-PACKAGED, certified, kosher meal that is

          approved by an independent Rabbi (other than one hired by the defendants) and         ~
          independent dietitian.

      3. 	 Order a trail be held in this matter and in the event that the plaintiff should prevail

          in proving these violations of the United States Constitution order:

      a. 	 That Defendant CBM and Unknown CBM Employees pay the plaintiff

          compensatory damages in the amount of$10,000.

      b. 	 That defendants Dooley, Wagner, Deglman, Unknown Department ofCorrectiohs

          Staff, CBM and Unknown CBM Employees pay the plaintiff punitive damages              t
          the amount of $10,000.
                                                                                                i
       c. 	 That defendants Dooley, Wagner, Deglman, Unknown Department ofCorrectidns

          Staff, CBM and Unknown CBM Employees pay the plaintiff nominal damages               t
          the amount of $1.00.

                   Signed and submitted this 7th day of January 2014.




                                   James Irving Dale #1526 

                                            MDSP 

                                      1412 Wood Street 

                                    Springfield, SD 57062 

